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In the Anited States Court of Federal Clanns

No. 18-1088C
(Filed: September 28, 2018)
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JAMES A. BLOW,
Plaintiff,
V.
THE UNITED STATES,

Defendant.

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OPINION AND ORDER

 

James A. Blow is an incarcerated pro se Plaintiff who alleges that the “Federal
Claims Department” unlawfully appropriated ten million dollars awarded to him by another
federal court in an unrelated case. The Government has filed a motion to dismiss for lack
of subject-matter jurisdiction and failure to state a claim. For the reasons below, the Court
GRANTS the Government’s motion to dismiss.

Background

Mr. Blow is incarcerated in Brevard County Jail in Florida on what he claims are
false allegations of robbery with a firearm. Compl. at 1. He claims that a federal court
awarded him $10 million on May 3, 2016, in an unrelated case. Compl. at 1. Mr. Blow
does not name a specific case, but the Court presumes that Mr. Blow is referring to the
proceedings in Blow v. Walton Family, et al., No. 6:16-cv-416 (M.D. Fla.). The court in
that case dismissed Mr. Blow’s complaint, and Mr. Blow received no award. Blow v.
Walton Family, et al., Dkt. No. 6. In the current case, Mr. Blow alleges that the federal
government appropriated the $10 million awarded to him in Walton Family, Compl. at 1.

 

On September 13, 2018, the Government filed a motion to dismiss, On September
24, 2018, Mr. Blow filed a “Motion to Strike Defendant’s Motion to Dismiss,” which
repeats the allegations in his complaint. With leave of the Court, this filing shall be titled
“Response to Motion to Dismiss,” and the Court will address it accordingly.

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Discussion

In deciding whether it has subject-matter jurisdiction, the Court “accepts as true all
uncontroverted factual allegations in the complaint, and construes them in the light most
favorable to the plaintiff.” Estes Express Lines v. United States, 739 F.3d 689, 692 (Fed.
Cir, 2014). Although pre se pleadings are held to a lower standard, a pro se plaintiff must
still prove subject-matter jurisdiction by a preponderance of the evidence. See Lengen vy,
United States, 100 Fed. Cl. 317, 328 (2011). Here, the complaint refers only to “due
process violations of the U.C.C. statute” and the United States Constitution. Neither Mr.
Blow’s complaint nor his response to the Government’s motion to dismiss alleges a claim
under a money-mandating source of law that would confer jurisdiction on this Court.
Therefore, the Court lacks subject-matter jurisdiction over Mr. Blow’s claim.

Mr. Blow also fails to state a claim on which relief can be granted. To survive
dismissal, a complaint must “state a claim to relief that is plausible on its face.” Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2009). “Pro se plaintiffs are given some leniency
in presenting their case,” and courts “liberally construe[]” a complaint filed pro se.
Stroughter v. United States, 89 Fed. Cl. 755, 760 (2009) (citation omitted). Here, Mr. Blow
claims that he is entitled to a $10 million award in a proceeding in which the court made
no such award. The public record shows that Mr. Blow is not entitled to the money that he
demands. Therefore, Mr. Blow fails to state a claim.

 

Conclusion

For the reasons above, the Court GRANTS the Government’s motion to dismiss for
lack of subject-matter jurisdiction and failure to state a claim. The Clerk is directed to
dismiss the complaint with prejudice.

Finally, considering Mr. Blow’s history of filing frivolous suits and documents, the
Court enjoins Mr. Blow from filing any new documents in this case excluding motions for
appeal or reconsideration. The Clerk is otherwise directed to reject all future
correspondence from Mr. Blow.

IT IS SO ORDERED. 20
are, C,

THOMAS C. WHEELER
Judge

 
